
215 Md. 661 (1958)
139 A.2d 262
PARKER
v.
WARDEN OF MARYLAND HOUSE OF CORRECTION
[H.C. No. 95, September Term, 1957.]
Court of Appeals of Maryland.
Decided March 3, 1958.
Before BRUNE, C.J., and HENDERSON, HAMMOND, PRESCOTT and HORNEY, JJ.
HENDERSON, J., delivered the opinion of the Court.
In this application for leave to appeal from the denial of a writ of habeas corpus, it appears that the petitioner was convicted in 1947 of second-degree murder in the Circuit Court for Howard County and sentenced to eighteen years. He contends that the indictment was faulty and that he acted in self-defense. These matters are not open to review on habeas corpus. His chief complaint seems to be that he was paroled June 4, 1953, but returned for violating parole on June 12, 1956. The Board allowed him one-half the time spent on parole. He argues that the disallowance of the other time illegally extends his sentence.
The Board's action was within its discretion, and not illegal. Creager v. Warden, 211 Md. 649; Clark v. Warden, 213 Md. 641; Code (1957 Supp.), Art. 41, sec. 91H.
Application denied, with costs.
